MONTHLY OPERATING REPORT - MTPC, LLC, et al.                                                                                                                                                        ATTACHMENT 2



       In re The Proton Therapy Center, LLC                                                                                                                                Case No. 20-05439
             Debtor                                                                                                                                          Reporting Period: October 01 - October 31, 2021




                                                                   SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS
            Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
            or, if this is the first report, the amount should be the balance on the date the petition was filed. The total disbursements listed in the disbursements
            journal must equal the total disbursements reported on this page. A bank reconciliation must be attached for each account.




                                                                                                                                              The Proton Therapy Center,
                                                                                                                         MTPC, LLC                       LLC                             PCPT Hamlin, LLC

            RECEIPTS
             Total Receipts                                                                                         $        1,214,484       $                          1,929,750   $                           65,111

            DISBURSEMENTS
               Payroll                                                                                              $          240,569       $                            371,630   $                              -
               Physicians                                                                                           $          138,771       $                             80,998   $                              -
               Facility Expense                                                                                     $              -         $                             85,669   $                           11,324
               Equipment Maintenance                                                                                $          349,429       $                            324,172   $                              -
               SG&A and Others                                                                                      $          450,939       $                            686,330   $                          125,794
               Related Service Provider Payments - PHP Management Fee                                               $          166,867       $                            197,737   $                              -
               Related Service Provider Payments - PVH/PVS                                                          $           63,600       $                            128,711   $                              -
               Other Deferred Payments                                                                              $              -         $                                -     $                              -
             Total Operating Disbursements                                                                          $        1,410,175       $                          1,875,248   $                          137,118

            Total Operating Cash Flow                                                                               $          (195,692) $                                54,502    $                          (72,007)

            BANKRUPTCY-RELATED DISBURSEMENTS

             Restructuring Costs
               Critical Vendor Payments                                                                             $                 -      $                                -     $                              -
               503(b)(9) Payments                                                                                   $                 -      $                                -     $                              -
               Priority Claims                                                                                      $                 -      $                                -     $                              -
               Admin Claim Settlements                                                                              $                 -      $                                -     $                              -
               Deposits                                                                                             $                 -      $                                -     $                              -
               DIP Interest                                                                                         $                 -      $                                -     $                              -
               DIP Fees and Expenses                                                                                $                 -      $                                -     $                              -
               Bankruptcy Court and U.S. Trustee Fees                                                               $                 -      $                                -     $                              -
               Liquidating Trustee                                                                                  $                 -      $                                -     $                              -
               Debtor's Counsel - Foley Lardner                                                                     $                 -      $                                -     $                              -
               Debtor's Counsel - McDermott Will & Emery                                                            $                 -      $                                -     $                              -
               Local Counsel                                                                                        $                 -      $                                -     $                              -
               Debtor's Financial Advisor - CRS Capstone Partners                                                   $                 -      $                                -     $                              -
               Debtor's CRO - Trinity River Advisors                                                                $                 -      $                                -     $                              -
               Claims/Noticing Agent                                                                                $                 -      $                                -     $                              -
               UCC Counsel                                                                                          $                 -      $                                -     $                              -
               UCC Advisors                                                                                         $                 -      $                                -     $                              -
               US Trustee Fees                                                                                      $                 -      $                                -     $                              -
               Other Trustee's Attorney Fees                                                                        $                 -      $                                -     $                              -
               Claims Agent (Epiq) Fees                                                                             $                 -      $                                -     $                              -
            Total Bankruptcy-Related Disbursements                                                                  $                 -      $                                -     $                              -

            Net Cash Flow                                                                                            $         (195,692) $                                54,502    $                          (72,007)

            LIQUIDITY

                Opening Cash Balance - August 1, 2021                                                               $        1,732,450       $                          3,363,318   $                          472,538
                Adjustment for Voided Checks                                                                        $              -         $                                -     $                              -
                Adjusted Opening Balance                                                                            $        1,732,450       $                          3,363,318   $                          472,538
                Net Cash Flow                                                                                       $         (195,692)      $                             54,502   $                          (72,007)

            Ending Cash Balance                                                                                      $       1,536,759        $                         3,417,820   $                          400,531

            1) Does not include transfers of $1,250,000 between two separate PCPT Knoxville bank accounts
            2) MOR was amended to remove transferred funds from total Receipts and Disbursements between two separate PCPT Knoxville bank accounts. Transferred amounts
            still appear on list of all activity of Receipts and Disbursement but are excluded from totals




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MONTHLY OPERATING REPORT - MTPC, LLC, et al.                                                                                                                 ATTACHMENT 3


In re The Proton Therapy Center, LLC                                                                                           Case No. 20-05439
      Debtor                                                                                                     Reporting Period: October 01 - October 31, 2021




                                              BANK ACCOUNT RECONCILIATIONS


     Name of Bank:                                     Fifth Third           Servis1st           Servis1st             Servis1st
     Account Number:                                     x6970                x1960               x0459                 x2966
                                                                                                                       Hamlin -
     Purpose/Type of Account:                     PCPT - Operating PCPT - Operating MTPC - Operating                                           Total
                                                                                                                       Operating

     1. Balance Per Bank Statement                $    2,098,816.00      $   1,319,001.09    $   1,536,759.07     $     400,531.06       $    5,355,107.22

     2. ADD: Deposits Not Credited                $                  -   $               -   $               -     $               -     $             -

     3. SUBTRACT: Outstanding Checks              $                  -   $               -   $               -     $               -

     4. Other Reconciling Items                   $        (8,813.09) $                  -   $     18,516.93       $               -     $        9,703.84

     5. Month End Balance Per Books               $    2,090,002.91      $   1,319,001.09    $   1,555,276.00     $     400,531.06       $    5,364,811.06




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MONTHLY OPERATING REPORT - MTPC, LLC, et al.                                                                      ATTACHMENT 3a


 In re The Proton Therapy Center, LLC                                                   Case No. 20-05439
       Debtor                                                             Reporting Period: October 01 - October 31, 2021




                                                 BANK STATEMENTS

                                               (See following attached pages.)




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MONTHLY OPERATING REPORT - MTPC, LLC, et al.                                                                                          ATTACHMENT 4


                       In re The Proton Therapy Cener, LLC                                                   Case No. 20-05439
                             Debtor                                                            Reporting Period: October 01 - October 31, 2021




                                                                    CASH DISBURSEMENT LISTING1

                                                                                                                                      Outstanding at
           Payor                                Description/Payee                     Date           Bank               Amount         Month End
MTPC, LLC                   Pronova                                                 10/01/21   Servis First x0459   $    349,429.17         no
MTPC, LLC                   Provision Health Partners                               10/01/21   Servis First x0459   $    106,000.00         no
MTPC, LLC                   Naslund Medical Inc                                     10/01/21   Servis First x0459   $      8,450.00         no
MTPC, LLC                   UMS Bill Milcrofton                                     10/01/21   Servis First x0459   $      4,266.75         no
MTPC, LLC                   UMS Bill Milcrofton                                     10/01/21   Servis First x0459   $        349.86         no
MTPC, LLC                   UMS Bill Milcrofton                                     10/01/21   Servis First x0459   $        238.16         no
MTPC, LLC                   Service Charge                                          10/04/21   Servis First x0459   $      2,052.55         no
MTPC, LLC                   ADP                                                     10/05/21   Servis First x0459   $     79,514.72         no
MTPC, LLC                   ADP                                                     10/05/21   Servis First x0459   $     29,012.61         no
MTPC, LLC                   DDA                                                     10/05/21   Servis First x0459   $     19,850.00         no
MTPC, LLC                   DDA                                                     10/05/21   Servis First x0459   $     13,250.00         no
MTPC, LLC                   Vantiv_INTG                                             10/05/21   Servis First x0459   $      3,596.20         no
MTPC, LLC                   Cleared Checks                                          10/05/21   Servis First x0459   $        270.00         no
MTPC, LLC                   Vantiv_INTG                                             10/05/21   Servis First x0459   $         62.72         no
MTPC, LLC                   Federal Express                                         10/07/21   Servis First x0459   $        166.37         no
MTPC, LLC                   Payables MTPC LLC                                       10/08/21   Servis First x0459   $     45,756.77         no
MTPC, LLC                   PerisPrincipal                                          10/08/21   Servis First x0459   $     12,860.60         no
MTPC, LLC                   Payables MTPC LLC                                       10/08/21   Servis First x0459   $      5,139.06         no
MTPC, LLC                   Tennessee Oncology PLLC                                 10/12/21   Servis First x0459   $    138,770.91         no
MTPC, LLC                   Cleared Checks                                          10/12/21   Servis First x0459   $      4,592.62         no
MTPC, LLC                   CIVCO Radiotherapy                                      10/12/21   Servis First x0459   $      2,424.00         no
MTPC, LLC                   Wex Health                                              10/12/21   Servis First x0459   $        635.16         no
MTPC, LLC                   Cleared Checks                                          10/12/21   Servis First x0459   $        350.00         no
MTPC, LLC                   Wex Health                                              10/12/21   Servis First x0459   $        307.68         no
MTPC, LLC                   Cleared Checks                                          10/13/21   Servis First x0459   $     40,976.33         no
MTPC, LLC                   Cleared Checks                                          10/13/21   Servis First x0459   $      1,442.64         no
MTPC, LLC                   Cleared Checks                                          10/13/21   Servis First x0459   $      1,285.00         no
MTPC, LLC                   Middle Tennessee CCD                                    10/14/21   Servis First x0459   $     51,904.73         no
MTPC, LLC                   Cleared Checks                                          10/14/21   Servis First x0459   $        501.50         no
MTPC, LLC                   Federal Express                                         10/14/21   Servis First x0459   $        163.90         no
MTPC, LLC                   Cleared Checks                                          10/14/21   Servis First x0459   $         22.30         no
MTPC, LLC                   Cleared Checks                                          10/15/21   Servis First x0459   $      2,189.67         no
MTPC, LLC                   Cleared Checks                                          10/15/21   Servis First x0459   $        435.51         no
MTPC, LLC                   Provision Health Partners                               10/18/21   Servis First x0459   $     36,658.80         no
MTPC, LLC                   Cleared Checks                                          10/18/21   Servis First x0459   $        699.24         no
MTPC, LLC                   Cleared Checks                                          10/18/21   Servis First x0459   $        265.15         no
MTPC, LLC                   ADP                                                     10/19/21   Servis First x0459   $     76,708.49         no
MTPC, LLC                   Gray Media Group                                        10/19/21   Servis First x0459   $     48,345.00         no
MTPC, LLC                   ADP                                                     10/19/21   Servis First x0459   $     28,109.62         no
MTPC, LLC                   The E.W. Scripps Company                                10/19/21   Servis First x0459   $     23,948.75         no
MTPC, LLC                   DDA                                                     10/19/21   Servis First x0459   $     16,600.00         no
MTPC, LLC                   DDA                                                     10/19/21   Servis First x0459   $     13,900.00         no
MTPC, LLC                   Provision Health Partners                               10/19/21   Servis First x0459   $     13,208.54         no
MTPC, LLC                   Meredith Funding Corp                                   10/19/21   Servis First x0459   $      8,797.50         no
MTPC, LLC                   Nextstar Broadcasting                                   10/19/21   Servis First x0459   $      6,035.00         no
MTPC, LLC                   CIGNA                                                   10/20/21   Servis First x0459   $      8,790.70         no
MTPC, LLC                   Payables MTPC LLC                                       10/21/21   Servis First x0459   $    173,177.05         no
MTPC, LLC                   Payables MTPC LLC                                       10/21/21   Servis First x0459   $      1,398.40         no
MTPC, LLC                   Cleared Checks                                          10/21/21   Servis First x0459   $      1,135.00         no
MTPC, LLC                   DEBPitney                                               10/21/21   Servis First x0459   $        165.00         no
MTPC, LLC                   PerisPrincipal                                          10/22/21   Servis First x0459   $     12,515.93         no
MTPC, LLC                   Wex Health                                              10/25/21   Servis First x0459   $        635.16         no
MTPC, LLC                   Wex Health                                              10/25/21   Servis First x0459   $        269.22         no
MTPC, LLC                   Envoy Corporation                                       10/26/21   Servis First x0459   $        340.00         no
MTPC, LLC                   Cleared Checks                                          10/26/21   Servis First x0459   $        195.00         no
MTPC, LLC                   Cleared Checks                                          10/26/21   Servis First x0459   $        174.24         no
MTPC, LLC                   Provision Health Partners                               10/27/21   Servis First x0459   $     11,000.00         no
MTPC, LLC                   Cleared Checks                                          10/28/21   Servis First x0459   $        485.02         no
MTPC, LLC                   Federal Express                                         10/28/21   Servis First x0459   $        126.05         no
MTPC, LLC                   Account Analysis Charge - ServisFirst                   10/29/21   Servis First x0459   $        159.60         no
MTPC, LLC                   Cleared Checks                                          10/29/21   Servis First x0459   $         60.34         no
MTPC, LLC                   Service Charge                                          10/29/21   Servis First x0459   $          5.00         no
PCPT Hamlin, LLC            Cleared Check                                           10/05/21   Servis First x9266   $        258.00         no
PCPT Hamlin, LLC            Duke Energy                                             10/08/21   Servis First x9266   $     11,086.05         no
PCPT Hamlin, LLC            Duke Energy                                             10/08/21   Servis First x9266   $        126.33         no
PCPT Hamlin, LLC            Duke Energy                                             10/08/21   Servis First x9266   $        111.29         no
PCPT Hamlin, LLC            Lakeapopalake                                           10/12/21   Servis First x9266   $      2,642.93         no
PCPT Hamlin, LLC            Orange County FLPPD                                     10/12/21   Servis First x9266   $        309.20         no




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MONTHLY OPERATING REPORT - MTPC, LLC, et al.                                                                                               ATTACHMENT 4


                           In re The Proton Therapy Center, LLC                                                   Case No. 20-05439
                                 Debtor                                                             Reporting Period: October 01 - October 31, 2021




                                                                         CASH DISBURSEMENT LISTING1

                                                                                                                                           Outstanding at
             Payor                                   Description/Payee                     Date            Bank              Amount         Month End
PCPT Hamlin, LLC                 Cleared Check                                           10/15/21   Servis First x9266   $         11.81         no
PCPT Hamlin, LLC                 Hamlin Payables                                         10/21/21   Servis First x9266   $      6,724.81         no
PCPT Hamlin, LLC                 Willis Towers Watson Southeast                          10/25/21   Servis First x9266   $    115,842.00         no
PCPT Hamlin, LLC                 Account Analysis Charge - ServisFirst                   10/29/21   Servis First x9266   $          5.60         no
The Proton Therapy Center, LLC   Provision Health Partners                               10/01/21   Servis First x1960   $    100,000.00         no
The Proton Therapy Center, LLC   Federal Express                                         10/01/21   Servis First x1960   $        481.19         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/04/21   Servis First x1960   $        612.34         no
The Proton Therapy Center, LLC   ADP                                                     10/05/21   Servis First x1960   $    120,044.79         no
The Proton Therapy Center, LLC   ADP                                                     10/05/21   Servis First x1960   $     40,793.42         no
The Proton Therapy Center, LLC   Platinum Oncology                                       10/05/21   Servis First x1960   $     23,650.00         no
The Proton Therapy Center, LLC   DDA                                                     10/05/21   Servis First x1960   $     19,850.00         no
The Proton Therapy Center, LLC   DDA                                                     10/05/21   Servis First x1960   $     13,250.00         no
The Proton Therapy Center, LLC   Vantiv_INTG_PYMTCCD                                     10/05/21   Servis First x1960   $      2,104.76         no
The Proton Therapy Center, LLC   Vantiv_INTG_PYMTCCD                                     10/05/21   Servis First x1960   $        133.33         no
The Proton Therapy Center, LLC   American Express                                        10/05/21   Servis First x1960   $          7.95         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/06/21   Servis First x1960   $      1,205.00         no
The Proton Therapy Center, LLC   Cleared Check                                           10/07/21   Fifth Third x6970    $    750,000.00         no
The Proton Therapy Center, LLC   Internet Waste Management                               10/07/21   Servis First x1960   $        886.59         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/07/21   Servis First x1960   $        600.00         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/07/21   Servis First x1960   $         30.69         no
The Proton Therapy Center, LLC   Payables PCPT LLC                                       10/08/21   Servis First x1960   $     83,341.88         no
The Proton Therapy Center, LLC   PLIC-PerisPrincipal Life                                10/08/21   Servis First x1960   $     17,584.54         no
The Proton Therapy Center, LLC   Payables PCPT LLC                                       10/08/21   Servis First x1960   $      4,767.15         no
The Proton Therapy Center, LLC   AutoPay Servisfirst                                     10/08/21   Servis First x1960   $      2,480.70         no
The Proton Therapy Center, LLC   Beekley Corporation                                     10/08/21   Servis First x1960   $      1,924.95         no
The Proton Therapy Center, LLC   Federal Express                                         10/08/21   Servis First x1960   $        566.76         no
The Proton Therapy Center, LLC   ATT Web                                                 10/08/21   Servis First x1960   $        389.23         no
The Proton Therapy Center, LLC   Knoxville Utilities Board                               10/12/21   Servis First x1960   $     84,393.62         no
The Proton Therapy Center, LLC   Wex Health                                              10/12/21   Servis First x1960   $        480.75         no
The Proton Therapy Center, LLC   Wex Health                                              10/12/21   Servis First x1960   $        332.53         no
The Proton Therapy Center, LLC   American Express                                        10/12/21   Servis First x1960   $          0.64         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/13/21   Servis First x1960   $      2,112.05         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/13/21   Servis First x1960   $      1,810.40         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/13/21   Servis First x1960   $      1,419.06         no
The Proton Therapy Center, LLC   Service Charge                                          10/13/21   Fifth Third x6970    $        341.97         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/14/21   Servis First x1960   $        178.01         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/15/21   Servis First x1960   $     11,109.93         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/15/21   Servis First x1960   $        722.85         no
The Proton Therapy Center, LLC   Federal Express                                         10/15/21   Servis First x1960   $        495.49         no
The Proton Therapy Center, LLC   Donations                                               10/15/21   Servis First x1960   $         35.00         no
The Proton Therapy Center, LLC   Provision Health Partners                               10/18/21   Servis First x1960   $     63,310.52         no
The Proton Therapy Center, LLC   Platinum Oncology                                       10/18/21   Servis First x1960   $     57,347.63         no
The Proton Therapy Center, LLC   DEBPitney                                               10/18/21   Servis First x1960   $        500.00         no
The Proton Therapy Center, LLC   ADP                                                     10/19/21   Servis First x1960   $    127,662.30         no
The Proton Therapy Center, LLC   Gray Media Group                                        10/19/21   Servis First x1960   $     49,510.00         no
The Proton Therapy Center, LLC   ADP                                                     10/19/21   Servis First x1960   $     46,198.28         no
The Proton Therapy Center, LLC   Provision Health Partners                               10/19/21   Servis First x1960   $     23,426.86         no
The Proton Therapy Center, LLC   DDA                                                     10/19/21   Servis First x1960   $     16,600.00         no
The Proton Therapy Center, LLC   Tegna                                                   10/19/21   Servis First x1960   $     14,025.00         no
The Proton Therapy Center, LLC   DDA                                                     10/19/21   Servis First x1960   $     13,900.00         no
The Proton Therapy Center, LLC   Effectv                                                 10/19/21   Servis First x1960   $      4,893.00         no
The Proton Therapy Center, LLC   Nextstar Broadcasting                                   10/19/21   Servis First x1960   $      4,058.75         no
The Proton Therapy Center, LLC   Nextstar Broadcasting                                   10/19/21   Servis First x1960   $      3,315.00         no
The Proton Therapy Center, LLC   Midwest Communications                                  10/19/21   Servis First x1960   $      3,252.00         no
The Proton Therapy Center, LLC   Summit Media                                            10/19/21   Servis First x1960   $      1,411.00         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/19/21   Servis First x1960   $        290.62         no
The Proton Therapy Center, LLC   APG East                                                10/19/21   Servis First x1960   $        215.00         no
The Proton Therapy Center, LLC   CIGNA                                                   10/20/21   Servis First x1960   $     16,028.63         no
The Proton Therapy Center, LLC   Cleared Check                                           10/21/21   Fifth Third x6970    $    500,000.00         no
The Proton Therapy Center, LLC   Payables PCPT LLC                                       10/21/21   Servis First x1960   $    440,091.40         no
The Proton Therapy Center, LLC   Payables PCPT LLC                                       10/21/21   Servis First x1960   $     12,892.08         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/21/21   Servis First x1960   $      7,219.55         no
The Proton Therapy Center, LLC   PMTSinclair Broadca CCD                                 10/21/21   Servis First x1960   $      3,845.00         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/21/21   Servis First x1960   $        927.61         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/21/21   Servis First x1960   $         10.00         no
The Proton Therapy Center, LLC   PLIC-PerisPrincipal Life                                10/22/21   Servis First x1960   $     17,680.53         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/22/21   Servis First x1960   $        687.50         no
The Proton Therapy Center, LLC   Cleared Checks                                          10/22/21   Servis First x1960   $        578.33         no




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                           In re The Proton Therapy Center, LLC                                                                       Case No. 20-05439
                                 Debtor                                                                                 Reporting Period: October 01 - October 31, 2021




                                                                                    CASH DISBURSEMENT LISTING1

                                                                                                                                                               Outstanding at
             Payor                                           Description/Payee                             Date               Bank               Amount         Month End
The Proton Therapy Center, LLC       Federal Express                                                     10/22/21       Servis First x1960   $        431.19         no
The Proton Therapy Center, LLC       Cleared Checks                                                      10/25/21       Servis First x1960   $      1,152.48         no
The Proton Therapy Center, LLC       Cleared Checks                                                      10/25/21       Servis First x1960   $        500.00         no
The Proton Therapy Center, LLC       Wex Health                                                          10/25/21       Servis First x1960   $        499.98         no
The Proton Therapy Center, LLC       Wex Health                                                          10/25/21       Servis First x1960   $        353.36         no
The Proton Therapy Center, LLC       Cleared Checks                                                      10/25/21       Servis First x1960   $         61.95         no
The Proton Therapy Center, LLC       Cleared Checks                                                      10/26/21       Servis First x1960   $      2,415.00         no
The Proton Therapy Center, LLC       Envoy Corporation                                                   10/26/21       Servis First x1960   $        631.61         no
The Proton Therapy Center, LLC       Cleared Checks                                                      10/26/21       Servis First x1960   $        229.55         no
The Proton Therapy Center, LLC       Provision Health Partners                                           10/27/21       Servis First x1960   $     11,000.00         no
The Proton Therapy Center, LLC       IBA Proton Therapy                                                  10/28/21       Servis First x1960   $    324,172.38         no
The Proton Therapy Center, LLC       Cleared Checks                                                      10/28/21       Servis First x1960   $        120.00         no
The Proton Therapy Center, LLC       DDA                                                                 10/29/21       Servis First x1960   $     65,110.59         no
The Proton Therapy Center, LLC       Federal Express                                                     10/29/21       Servis First x1960   $        535.73         no
The Proton Therapy Center, LLC       Account Analysis Charge - ServisFirst                               10/29/21       Servis First x1960   $         19.74         no

                                                                                                                    Total Disbursements:     $ 4,672,541.03


                                                                                               Outstanding Checks from Reporting Period:     $           -
                                                                                         Outstanding Checks from Prior Reporting Periods:    $           -
                                                                                                             Total Outstanding Checks:       $           -



                                 1
                                     Does not include transfers between bank accounts




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DEPOSITS

             Payee       Date                  Bank           Amount Paid             Description
           MTPC, LLC   10/01/21          Servis First x0459          6,800        Insurance Proceeds
           MTPC, LLC   10/01/21          Servis First x0459       2,165.74        Insurance Proceeds
           MTPC, LLC   10/01/21          Servis First x0459       1,815.00         Customer Payment
           MTPC, LLC   10/01/21          Servis First x0459       1,220.70        Insurance Proceeds
           MTPC, LLC   10/01/21          Servis First x0459          95.01        Insurance Proceeds
           MTPC, LLC   10/04/21          Servis First x0459      69,034.36        Insurance Proceeds
           MTPC, LLC   10/04/21          Servis First x0459      26,956.60        Insurance Proceeds
           MTPC, LLC   10/04/21          Servis First x0459      12,551.32         Customer Payment
           MTPC, LLC   10/04/21          Servis First x0459       9,216.88         Customer Payment
           MTPC, LLC   10/04/21          Servis First x0459       2,142.81        Insurance Proceeds
           MTPC, LLC   10/04/21          Servis First x0459       1,401.10         Customer Payment
           MTPC, LLC   10/04/21          Servis First x0459         943.89         Customer Payment
           MTPC, LLC   10/04/21          Servis First x0459         384.25        Insurance Proceeds
           MTPC, LLC   10/04/21          Servis First x0459          24.46        Insurance Proceeds
           MTPC, LLC   10/05/21          Servis First x0459       5,202.48         Customer Payment
           MTPC, LLC   10/05/21          Servis First x0459       2,162.06        Insurance Proceeds
           MTPC, LLC   10/06/21          Servis First x0459      54,092.92         Customer Payment
           MTPC, LLC   10/06/21          Servis First x0459      32,748.71        Insurance Proceeds
           MTPC, LLC   10/06/21          Servis First x0459       3,075.53        Insurance Proceeds
           MTPC, LLC   10/06/21          Servis First x0459         889.58        Insurance Proceeds
           MTPC, LLC   10/06/21          Servis First x0459         381.76        Insurance Proceeds
           MTPC, LLC   10/07/21          Servis First x0459      48,572.21        Insurance Proceeds
           MTPC, LLC   10/07/21          Servis First x0459      13,283.01        Insurance Proceeds
           MTPC, LLC   10/07/21          Servis First x0459       7,961.77        Insurance Proceeds
           MTPC, LLC   10/07/21          Servis First x0459       4,686.56        Insurance Proceeds
           MTPC, LLC   10/07/21          Servis First x0459       1,504.90         Customer Payment
           MTPC, LLC   10/07/21          Servis First x0459       1,032.13        Insurance Proceeds
           MTPC, LLC   10/07/21          Servis First x0459         792.84         Customer Payment
           MTPC, LLC   10/07/21          Servis First x0459         783.09        Insurance Proceeds
           MTPC, LLC   10/07/21          Servis First x0459         538.95        Insurance Proceeds
           MTPC, LLC   10/07/21          Servis First x0459         288.07        Insurance Proceeds
           MTPC, LLC   10/07/21          Servis First x0459         197.77        Insurance Proceeds
           MTPC, LLC   10/08/21          Servis First x0459         912.00         Customer Payment
           MTPC, LLC   10/08/21          Servis First x0459         246.13        Insurance Proceeds
           MTPC, LLC   10/08/21          Servis First x0459         244.14        Insurance Proceeds
           MTPC, LLC   10/08/21          Servis First x0459         139.54        Insurance Proceeds
           MTPC, LLC   10/08/21          Servis First x0459          70.00         Customer Payment
           MTPC, LLC   10/08/21          Servis First x0459          31.40        Insurance Proceeds
           MTPC, LLC   10/12/21          Servis First x0459      28,780.49        Insurance Proceeds
           MTPC, LLC   10/12/21          Servis First x0459      16,655.06        Insurance Proceeds
           MTPC, LLC   10/12/21          Servis First x0459      13,665.68         Customer Payment
           MTPC, LLC   10/12/21          Servis First x0459       1,896.16        Insurance Proceeds
           MTPC, LLC   10/12/21          Servis First x0459       1,706.16         Customer Payment
           MTPC, LLC   10/12/21          Servis First x0459       1,108.54         Customer Payment
           MTPC, LLC   10/12/21          Servis First x0459       1,012.47         Customer Payment
           MTPC, LLC   10/12/21          Servis First x0459         700.00         Customer Payment
           MTPC, LLC   10/12/21          Servis First x0459         673.83        Insurance Proceeds
           MTPC, LLC   10/12/21          Servis First x0459          35.00         Customer Payment
           MTPC, LLC   10/13/21          Servis First x0459      67,925.50         Customer Payment
           MTPC, LLC   10/13/21          Servis First x0459      35,230.58        Insurance Proceeds
           MTPC, LLC   10/13/21          Servis First x0459       3,374.97        Insurance Proceeds
           MTPC, LLC   10/13/21          Servis First x0459       1,324.17        Insurance Proceeds
           MTPC, LLC   10/13/21          Servis First x0459         244.14        Insurance Proceeds
           MTPC, LLC   10/13/21          Servis First x0459          20.54        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459      94,500.77        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459      15,008.09        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459      12,318.64        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459       7,778.78        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459       2,363.75         Customer Payment
           MTPC, LLC   10/14/21          Servis First x0459       2,336.09        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459         631.30        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459         541.56        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459         316.60         Customer Payment
           MTPC, LLC   10/14/21          Servis First x0459         262.86        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459         242.77        Insurance Proceeds
           MTPC, LLC   10/14/21          Servis First x0459          41.80        Insurance Proceeds
           MTPC, LLC   10/15/21          Servis First x0459      10,876.93         Customer Payment
           MTPC, LLC   10/15/21          Servis First x0459       3,451.06        Insurance Proceeds
           MTPC, LLC   10/15/21          Servis First x0459       1,139.90        Insurance Proceeds
           MTPC, LLC   10/15/21          Servis First x0459         759.15        Insurance Proceeds
           MTPC, LLC   10/15/21          Servis First x0459         120.00         Customer Payment
           MTPC, LLC   10/15/21          Servis First x0459          92.31        Insurance Proceeds
           MTPC, LLC   10/18/21          Servis First x0459      65,607.08        Insurance Proceeds
           MTPC, LLC   10/18/21          Servis First x0459       3,298.77        Insurance Proceeds
           MTPC, LLC   10/18/21          Servis First x0459       2,676.42         Customer Payment
           MTPC, LLC   10/18/21          Servis First x0459         991.15        Insurance Proceeds
           MTPC, LLC   10/18/21          Servis First x0459         597.30        Insurance Proceeds
           MTPC, LLC   10/18/21          Servis First x0459         361.35         Customer Payment
           MTPC, LLC   10/18/21          Servis First x0459         255.47        Insurance Proceeds
           MTPC, LLC   10/18/21          Servis First x0459         111.17         Customer Payment
           MTPC, LLC   10/19/21          Servis First x0459      39,883.94        Insurance Proceeds
           MTPC, LLC   10/19/21          Servis First x0459      15,245.65         Customer Payment
           MTPC, LLC   10/19/21          Servis First x0459       2,594.43        Insurance Proceeds
           MTPC, LLC   10/19/21          Servis First x0459         425.80        Insurance Proceeds
           MTPC, LLC   10/19/21          Servis First x0459          48.92        Insurance Proceeds
           MTPC, LLC   10/20/21          Servis First x0459      35,771.28        Insurance Proceeds
           MTPC, LLC   10/20/21          Servis First x0459      13,440.09         Customer Payment
           MTPC, LLC   10/20/21          Servis First x0459           1.26        Insurance Proceeds
           MTPC, LLC   10/21/21          Servis First x0459      16,778.85        Insurance Proceeds
           MTPC, LLC   10/21/21          Servis First x0459       9,404.15        Insurance Proceeds
           MTPC, LLC   10/21/21          Servis First x0459       6,135.56         Customer Payment
           MTPC, LLC   10/21/21          Servis First x0459       5,303.98        Insurance Proceeds
           MTPC, LLC   10/21/21          Servis First x0459       4,662.07        Insurance Proceeds
           MTPC, LLC   10/21/21          Servis First x0459       2,389.41        Insurance Proceeds
           MTPC, LLC   10/21/21          Servis First x0459       2,320.09        Insurance Proceeds




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         MTPC, LLC               10/21/21          Servis First x0459     1,027.23          Insurance Proceeds
         MTPC, LLC               10/21/21          Servis First x0459        50.98          Insurance Proceeds
         MTPC, LLC               10/21/21          Servis First x0459        47.14          Insurance Proceeds
         MTPC, LLC               10/21/21          Servis First x0459        40.00           Customer Payment
         MTPC, LLC               10/22/21          Servis First x0459    11,080.40          Insurance Proceeds
         MTPC, LLC               10/22/21          Servis First x0459     2,482.82           Customer Payment
         MTPC, LLC               10/22/21          Servis First x0459     1,551.59          Insurance Proceeds
         MTPC, LLC               10/22/21          Servis First x0459        50.98          Insurance Proceeds
         MTPC, LLC               10/22/21          Servis First x0459        15.16          Insurance Proceeds
         MTPC, LLC               10/25/21          Servis First x0459    19,162.49           Customer Payment
         MTPC, LLC               10/25/21          Servis First x0459     1,859.26          Insurance Proceeds
         MTPC, LLC               10/25/21          Servis First x0459     1,547.58           Customer Payment
         MTPC, LLC               10/25/21          Servis First x0459     1,235.20          Insurance Proceeds
         MTPC, LLC               10/25/21          Servis First x0459     1,149.71          Insurance Proceeds
         MTPC, LLC               10/25/21          Servis First x0459     1,066.80           Customer Payment
         MTPC, LLC               10/25/21          Servis First x0459       924.65          Insurance Proceeds
         MTPC, LLC               10/25/21          Servis First x0459       354.03           Customer Payment
         MTPC, LLC               10/26/21          Servis First x0459    10,237.48          Insurance Proceeds
         MTPC, LLC               10/26/21          Servis First x0459       568.13           Customer Payment
         MTPC, LLC               10/26/21          Servis First x0459       294.81          Insurance Proceeds
         MTPC, LLC               10/27/21          Servis First x0459   137,628.86          Insurance Proceeds
         MTPC, LLC               10/27/21          Servis First x0459    16,647.94           Customer Payment
         MTPC, LLC               10/27/21          Servis First x0459    14,483.04           Customer Payment
         MTPC, LLC               10/27/21          Servis First x0459     2,170.43          Insurance Proceeds
         MTPC, LLC               10/27/21          Servis First x0459       819.17          Insurance Proceeds
         MTPC, LLC               10/27/21          Servis First x0459       783.09          Insurance Proceeds
         MTPC, LLC               10/27/21          Servis First x0459       388.10           Customer Payment
         MTPC, LLC               10/27/21          Servis First x0459       183.99          Insurance Proceeds
         MTPC, LLC               10/27/21          Servis First x0459        30.76          Insurance Proceeds
         MTPC, LLC               10/28/21          Servis First x0459    25,631.99          Insurance Proceeds
         MTPC, LLC               10/28/21          Servis First x0459     6,400.53          Insurance Proceeds
         MTPC, LLC               10/28/21          Servis First x0459     2,292.07          Insurance Proceeds
         MTPC, LLC               10/28/21          Servis First x0459     1,902.49           Customer Payment
         MTPC, LLC               10/28/21          Servis First x0459     1,653.13          Insurance Proceeds
         MTPC, LLC               10/28/21          Servis First x0459     1,623.21          Insurance Proceeds
         MTPC, LLC               10/28/21          Servis First x0459       401.15          Insurance Proceeds
         MTPC, LLC               10/28/21          Servis First x0459       395.54          Insurance Proceeds
         MTPC, LLC               10/29/21          Servis First x0459    63,135.47          Insurance Proceeds
         MTPC, LLC               10/29/21          Servis First x0459     4,881.46           Customer Payment
         MTPC, LLC               10/29/21          Servis First x0459     3,154.43          Insurance Proceeds
         MTPC, LLC               10/29/21          Servis First x0459     1,406.25           Customer Payment
         MTPC, LLC               10/29/21          Servis First x0459     1,327.43          Insurance Proceeds
         MTPC, LLC               10/29/21          Servis First x0459     1,132.78          Insurance Proceeds
         MTPC, LLC               10/29/21          Servis First x0459       700.94          Insurance Proceeds
         MTPC, LLC               10/29/21          Servis First x0459       533.47          Insurance Proceeds
      PCPT Hamlin, LLC           10/08/21          Servis First x9266       65,111          Insurance Proceeds          From DDA 1110191960, to DDA 1110372966
The Proton Therapy Center, LLC   09/30/21          Servis First x1960     5,539.70           Customer Payment
The Proton Therapy Center, LLC   10/01/21          Fifth Third x6970    388,179.03          Insurance Proceeds
The Proton Therapy Center, LLC   10/01/21          Servis First x1960     2,732.91          Insurance Proceeds
The Proton Therapy Center, LLC   10/01/21          Servis First x1960     1,737.28          Insurance Proceeds
The Proton Therapy Center, LLC   10/01/21          Servis First x1960     1,434.58          Insurance Proceeds
The Proton Therapy Center, LLC   10/01/21          Servis First x1960       892.87          Insurance Proceeds
The Proton Therapy Center, LLC   10/01/21          Fifth Third x6970        733.89           Customer Payment
The Proton Therapy Center, LLC   10/01/21          Servis First x1960       671.54          Insurance Proceeds
The Proton Therapy Center, LLC   10/01/21          Servis First x1960       317.86          Insurance Proceeds
The Proton Therapy Center, LLC   10/01/21          Servis First x1960       211.29          Insurance Proceeds
The Proton Therapy Center, LLC   10/01/21          Servis First x1960        70.00           Customer Payment
The Proton Therapy Center, LLC   10/01/21          Servis First x1960        32.80          Insurance Proceeds
The Proton Therapy Center, LLC   10/04/21          Servis First x1960     8,123.09           Customer Payment
The Proton Therapy Center, LLC   10/04/21          Servis First x1960     7,911.31           Customer Payment
The Proton Therapy Center, LLC   10/04/21          Servis First x1960     2,832.38          Insurance Proceeds
The Proton Therapy Center, LLC   10/04/21          Servis First x1960     2,536.94          Insurance Proceeds
The Proton Therapy Center, LLC   10/04/21          Servis First x1960     1,012.56          Insurance Proceeds
The Proton Therapy Center, LLC   10/04/21          Servis First x1960       815.59           Customer Payment
The Proton Therapy Center, LLC   10/04/21          Servis First x1960       100.00           Customer Payment
The Proton Therapy Center, LLC   10/04/21          Servis First x1960        85.02          Insurance Proceeds
The Proton Therapy Center, LLC   10/04/21          Servis First x1960        17.20          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960     8,096.81          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Fifth Third x6970      4,847.31          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960     3,876.70          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960       991.07          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960       755.97          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960       644.16          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960       495.49          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960       235.10          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960       187.50           Customer Payment
The Proton Therapy Center, LLC   10/05/21          Servis First x1960       170.12          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960        37.26          Insurance Proceeds
The Proton Therapy Center, LLC   10/05/21          Servis First x1960        24.46          Insurance Proceeds
The Proton Therapy Center, LLC   10/06/21          Fifth Third x6970    125,446.60          Insurance Proceeds
The Proton Therapy Center, LLC   10/06/21          Servis First x1960        1,932           Customer Payment
The Proton Therapy Center, LLC   10/06/21          Servis First x1960       994.79          Insurance Proceeds
The Proton Therapy Center, LLC   10/06/21          Servis First x1960       963.02          Insurance Proceeds
The Proton Therapy Center, LLC   10/06/21          Servis First x1960       933.10          Insurance Proceeds
The Proton Therapy Center, LLC   10/06/21          Servis First x1960       543.91          Insurance Proceeds
The Proton Therapy Center, LLC   10/06/21          Servis First x1960         3.90          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960   750,000.00           Customer Payment
The Proton Therapy Center, LLC   10/07/21          Servis First x1960    39,527.86          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Fifth Third x6970     38,524.87          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960    33,683.67          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960    15,748.97          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960        6,898          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960     2,801.62          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960     2,010.82          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960     1,681.86          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960       786.23           Customer Payment
The Proton Therapy Center, LLC   10/07/21          Servis First x1960       710.62          Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960       522.95          Insurance Proceeds




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The Proton Therapy Center, LLC   10/07/21          Servis First x1960      276.90           Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Servis First x1960       47.53           Insurance Proceeds
The Proton Therapy Center, LLC   10/07/21          Fifth Third x6970        35.00            Customer Payment
The Proton Therapy Center, LLC   10/07/21          Servis First x1960       23.57            Customer Payment
The Proton Therapy Center, LLC   10/07/21          Servis First x1960        6.00           Insurance Proceeds
The Proton Therapy Center, LLC   10/08/21          Fifth Third x6970    82,512.46           Insurance Proceeds
The Proton Therapy Center, LLC   10/08/21          Servis First x1960    7,804.43            Customer Payment
The Proton Therapy Center, LLC   10/08/21          Servis First x1960    5,305.68           Insurance Proceeds
The Proton Therapy Center, LLC   10/08/21          Servis First x1960       4,465           Insurance Proceeds
The Proton Therapy Center, LLC   10/08/21          Fifth Third x6970     3,861.56            Customer Payment
The Proton Therapy Center, LLC   10/08/21          Servis First x1960         465            Customer Payment
The Proton Therapy Center, LLC   10/08/21          Servis First x1960      210.17           Insurance Proceeds
The Proton Therapy Center, LLC   10/08/21          Servis First x1960      112.38           Insurance Proceeds
The Proton Therapy Center, LLC   10/08/21          Servis First x1960      105.00           Insurance Proceeds
The Proton Therapy Center, LLC   10/08/21          Servis First x1960       35.28            Customer Payment
The Proton Therapy Center, LLC   10/08/21          Servis First x1960       20.14           Insurance Proceeds
The Proton Therapy Center, LLC   10/12/21          Servis First x1960   13,145.39            Customer Payment
The Proton Therapy Center, LLC   10/12/21          Servis First x1960   12,771.13            Customer Payment
The Proton Therapy Center, LLC   10/12/21          Servis First x1960   10,885.33            Customer Payment
The Proton Therapy Center, LLC   10/12/21          Servis First x1960       2,123           Insurance Proceeds
The Proton Therapy Center, LLC   10/12/21          Fifth Third x6970     1,625.14            Customer Payment
The Proton Therapy Center, LLC   10/12/21          Servis First x1960      574.93            Customer Payment
The Proton Therapy Center, LLC   10/12/21          Servis First x1960      235.10           Insurance Proceeds
The Proton Therapy Center, LLC   10/12/21          Servis First x1960       41.80           Insurance Proceeds
The Proton Therapy Center, LLC   10/12/21          Servis First x1960       40.00            Customer Payment
The Proton Therapy Center, LLC   10/12/21          Servis First x1960       14.59           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Fifth Third x6970    75,751.11           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960    9,443.60           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960    9,099.31           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960    5,147.70            Customer Payment
The Proton Therapy Center, LLC   10/13/21          Servis First x1960    3,779.12           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960    1,726.01           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960       1,719           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960     1114.26           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960    1,089.25           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960      358.67           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960      183.99           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960       92.31           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960       71.93           Insurance Proceeds
The Proton Therapy Center, LLC   10/13/21          Servis First x1960       41.80           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Fifth Third x6970    44,017.50            Customer Payment
The Proton Therapy Center, LLC   10/14/21          Servis First x1960    5,712.95           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960    5,454.76           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960    5,356.49           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960    4,273.41           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960    4,160.02           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960    3,022.05           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960    2,238.54           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Fifth Third x6970     2,000.00            Customer Payment
The Proton Therapy Center, LLC   10/14/21          Servis First x1960    1,596.00           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Fifth Third x6970       395.00            Customer Payment
The Proton Therapy Center, LLC   10/14/21          Servis First x1960       88.87           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960       71.64           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960       69.43           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960       68.78           Insurance Proceeds
The Proton Therapy Center, LLC   10/14/21          Servis First x1960       45.00            Customer Payment
The Proton Therapy Center, LLC   10/14/21          Servis First x1960       21.00            Customer Payment
The Proton Therapy Center, LLC   10/14/21          Servis First x1960        9.00           Insurance Proceeds
The Proton Therapy Center, LLC   10/15/21          Fifth Third x6970    43,690.44           Insurance Proceeds
The Proton Therapy Center, LLC   10/15/21          Servis First x1960      16,781            Customer Payment
The Proton Therapy Center, LLC   10/15/21          Servis First x1960   12,590.88            Customer Payment
The Proton Therapy Center, LLC   10/15/21          Servis First x1960      10,045           Insurance Proceeds
The Proton Therapy Center, LLC   10/15/21          Servis First x1960       2,247           Insurance Proceeds
The Proton Therapy Center, LLC   10/15/21          Servis First x1960    1,691.78           Insurance Proceeds
The Proton Therapy Center, LLC   10/15/21          Servis First x1960      536.01           Insurance Proceeds
The Proton Therapy Center, LLC   10/15/21          Servis First x1960      371.00           Insurance Proceeds
The Proton Therapy Center, LLC   10/15/21          Fifth Third x6970          196            Customer Payment
The Proton Therapy Center, LLC   10/18/21          Servis First x1960   55,080.33           Insurance Proceeds
The Proton Therapy Center, LLC   10/18/21          Fifth Third x6970    38,377.17           Insurance Proceeds
The Proton Therapy Center, LLC   10/18/21          Servis First x1960   14,496.50            Customer Payment
The Proton Therapy Center, LLC   10/18/21          Servis First x1960    4,335.90           Insurance Proceeds
The Proton Therapy Center, LLC   10/18/21          Servis First x1960    3,944.21            Customer Payment
The Proton Therapy Center, LLC   10/18/21          Servis First x1960    3,154.53           Insurance Proceeds
The Proton Therapy Center, LLC   10/18/21          Servis First x1960      940.38           Insurance Proceeds
The Proton Therapy Center, LLC   10/18/21          Servis First x1960      183.99           Insurance Proceeds
The Proton Therapy Center, LLC   10/18/21          Servis First x1960       40.00            Customer Payment
The Proton Therapy Center, LLC   10/19/21          Fifth Third x6970    38,629.82           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960      17,396           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960   11,730.38           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960    8,987.07           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960    7,649.82           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960    5,735.53           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960    5,232.59            Customer Payment
The Proton Therapy Center, LLC   10/19/21          Servis First x1960    5,003.20           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960    2,410.89           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960    1,391.02           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960      395.23           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960      216.13           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960      163.99           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960       97.31           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960       32.07           Insurance Proceeds
The Proton Therapy Center, LLC   10/19/21          Servis First x1960        4.14           Insurance Proceeds
The Proton Therapy Center, LLC   10/20/21          Fifth Third x6970    33,810.19           Insurance Proceeds
The Proton Therapy Center, LLC   10/20/21          Servis First x1960    5,949.53            Customer Payment
The Proton Therapy Center, LLC   10/20/21          Servis First x1960    1,911.29           Insurance Proceeds
The Proton Therapy Center, LLC   10/20/21          Servis First x1960       1,251           Insurance Proceeds
The Proton Therapy Center, LLC   10/20/21          Servis First x1960      927.98           Insurance Proceeds
The Proton Therapy Center, LLC   10/20/21          Servis First x1960      874.57            Customer Payment




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The Proton Therapy Center, LLC       10/20/21          Servis First x1960       587.46          Insurance Proceeds
The Proton Therapy Center, LLC       10/20/21          Servis First x1960       522.01          Insurance Proceeds
The Proton Therapy Center, LLC       10/20/21          Servis First x1960       208.51           Customer Payment
The Proton Therapy Center, LLC       10/20/21          Servis First x1960           97          Insurance Proceeds
The Proton Therapy Center, LLC       10/20/21          Servis First x1960        60.98          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960   500,000.00           Customer Payment
The Proton Therapy Center, LLC       10/21/21          Servis First x1960    36,118.46           Customer Payment
The Proton Therapy Center, LLC       10/21/21          Servis First x1960    20,219.57           Customer Payment
The Proton Therapy Center, LLC       10/21/21          Servis First x1960    15,628.65          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960    11,733.16          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960     7,484.63          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960     7,287.13          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960     4,945.51          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960     3,159.41          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960     2,087.42          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960     1,584.08          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960       991.07          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Fifth Third x6970        940.50          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960       399.28          Insurance Proceeds
The Proton Therapy Center, LLC       10/21/21          Servis First x1960        53.23           Customer Payment
The Proton Therapy Center, LLC       10/21/21          Servis First x1960        17.23          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960     7,051.51          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960        3,069          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960        1,650           Customer Payment
The Proton Therapy Center, LLC       10/22/21          Servis First x1960     1,622.76          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960     1,593.20          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960     1,165.70          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960     1,128.86          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960       679.42          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Fifth Third x6970        405.60          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960       212.90          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960       211.66          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Servis First x1960          158          Insurance Proceeds
The Proton Therapy Center, LLC       10/22/21          Fifth Third x6970         42.82           Customer Payment
The Proton Therapy Center, LLC       10/25/21          Fifth Third x6970    116,900.13          Insurance Proceeds
The Proton Therapy Center, LLC       10/25/21          Servis First x1960       11,586           Customer Payment
The Proton Therapy Center, LLC       10/25/21          Servis First x1960     6,015.84           Customer Payment
The Proton Therapy Center, LLC       10/25/21          Servis First x1960     5,212.71          Insurance Proceeds
The Proton Therapy Center, LLC       10/25/21          Servis First x1960     3,167.88          Insurance Proceeds
The Proton Therapy Center, LLC       10/25/21          Servis First x1960     1,534.75           Customer Payment
The Proton Therapy Center, LLC       10/25/21          Servis First x1960       884.40          Insurance Proceeds
The Proton Therapy Center, LLC       10/25/21          Servis First x1960       259.90          Insurance Proceeds
The Proton Therapy Center, LLC       10/25/21          Servis First x1960        25.00          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Fifth Third x6970     36,414.10          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960    16,078.81          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960     2,353.99          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960     1,995.53          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960     1,304.83          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960        1,095          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960       883.42          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960       607.69          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960       271.18          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960       258.14          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960       207.14          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960       173.99          Insurance Proceeds
The Proton Therapy Center, LLC       10/26/21          Servis First x1960        58.35          Insurance Proceeds
The Proton Therapy Center, LLC       10/27/21          Fifth Third x6970     11,724.08          Insurance Proceeds
The Proton Therapy Center, LLC       10/27/21          Servis First x1960     4,567.54          Insurance Proceeds
The Proton Therapy Center, LLC       10/27/21          Servis First x1960     2,114.79           Customer Payment
The Proton Therapy Center, LLC       10/27/21          Servis First x1960     1,779.11          Insurance Proceeds
The Proton Therapy Center, LLC       10/27/21          Servis First x1960     1,644.75          Insurance Proceeds
The Proton Therapy Center, LLC       10/27/21          Servis First x1960        1,226          Insurance Proceeds
The Proton Therapy Center, LLC       10/27/21          Servis First x1960       358.76          Insurance Proceeds
The Proton Therapy Center, LLC       10/27/21          Servis First x1960        56.56          Insurance Proceeds
The Proton Therapy Center, LLC       10/27/21          Servis First x1960        53.31          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Fifth Third x6970     73,289.07          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960    24,311.59          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960     7,133.87          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960     2,025.63          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960        1,936           Customer Payment
The Proton Therapy Center, LLC       10/28/21          Servis First x1960     1,646.34          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960       719.89          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960       500.00           Customer Payment
The Proton Therapy Center, LLC       10/28/21          Servis First x1960       169.12          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960       117.86          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960        97.31          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960        76.05          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960        68.78          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Fifth Third x6970            65          Insurance Proceeds
The Proton Therapy Center, LLC       10/28/21          Servis First x1960        60.98          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Fifth Third x6970      9,463.98          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Servis First x1960     9,286.18          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Servis First x1960     6,115.16          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Servis First x1960     4,359.77          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Servis First x1960     4,098.03           Customer Payment
The Proton Therapy Center, LLC       10/29/21          Servis First x1960     2,049.62          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Servis First x1960     1,933.17          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Servis First x1960          679          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Fifth Third x6970        640.00           Customer Payment
The Proton Therapy Center, LLC       10/29/21          Servis First x1960       608.24          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Fifth Third x6970        489.47           Customer Payment
The Proton Therapy Center, LLC       10/29/21          Servis First x1960       235.10          Insurance Proceeds
The Proton Therapy Center, LLC       10/29/21          Fifth Third x6970         55.00           Customer Payment
The Proton Therapy Center, LLC       10/29/21          Fifth Third x6970         45.00           Customer Payment
The Proton Therapy Center, LLC       10/29/21          Fifth Third x6970         15.00           Customer Payment


                                 Deposit Summary        As of 10.31.21




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         MTPC, LLC                   1,214,484
The Proton Therapy Center, LLC       3,179,750
      PCPT Hamlin, LLC                  65,111
            Total                    4,459,344




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DISBURSEMENTS

             Payor                  Date             Bank          Amount Paid                               Description                                        Payee
          MTPC, LLC               10/01/21    Servis First x0459        349,429.17                     Equipment Maintenance                                   Pronova
          MTPC, LLC               10/01/21    Servis First x0459        106,000.00    Related Service Provider Payments - PHP Management Fee         Provision Health Partners
          MTPC, LLC               10/01/21    Servis First x0459          8,450.00                        SG&A and Others                               Naslund Medical Inc
          MTPC, LLC               10/01/21    Servis First x0459          4,266.75                        SG&A and Others                                UMS Bill Milcrofton
          MTPC, LLC               10/01/21    Servis First x0459            349.86                        SG&A and Others                                UMS Bill Milcrofton
          MTPC, LLC               10/01/21    Servis First x0459            238.16                        SG&A and Others                                UMS Bill Milcrofton
          MTPC, LLC               10/04/21    Servis First x0459          2,052.55                        SG&A and Others                                 Service Charge
          MTPC, LLC               10/05/21    Servis First x0459         79,514.72                              Payroll                                          ADP
          MTPC, LLC               10/05/21    Servis First x0459         29,012.61                              Payroll                                          ADP
          MTPC, LLC               10/05/21    Servis First x0459         19,850.00          Related Service Provider Payments - PVH/PVS                          DDA
          MTPC, LLC               10/05/21    Servis First x0459         13,250.00          Related Service Provider Payments - PVH/PVS                          DDA
          MTPC, LLC               10/05/21    Servis First x0459          3,596.20                        SG&A and Others                                   Vantiv_INTG
          MTPC, LLC               10/05/21    Servis First x0459            270.00                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/05/21    Servis First x0459              62.72                       SG&A and Others                                   Vantiv_INTG
          MTPC, LLC               10/07/21    Servis First x0459            166.37                        SG&A and Others                                 Federal Express
          MTPC, LLC               10/08/21    Servis First x0459         45,756.77                        SG&A and Others                               Payables MTPC LLC
          MTPC, LLC               10/08/21    Servis First x0459         12,860.60                              Payroll                                     PerisPrincipal
          MTPC, LLC               10/08/21    Servis First x0459          5,139.06                        SG&A and Others                               Payables MTPC LLC
          MTPC, LLC               10/12/21    Servis First x0459        138,770.91                            Physicians                            Tennessee Oncology PLLC
          MTPC, LLC               10/12/21    Servis First x0459          4,592.62                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/12/21    Servis First x0459          2,424.00                        SG&A and Others                              CIVCO Radiotherapy
          MTPC, LLC               10/12/21    Servis First x0459            635.16                              Payroll                                      Wex Health
          MTPC, LLC               10/12/21    Servis First x0459            350.00                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/12/21    Servis First x0459            307.68                              Payroll                                      Wex Health
          MTPC, LLC               10/13/21    Servis First x0459         40,976.33                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/13/21    Servis First x0459          1,442.64                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/13/21    Servis First x0459          1,285.00                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/14/21    Servis First x0459         51,904.73                        SG&A and Others                             Middle Tennessee CCD
          MTPC, LLC               10/14/21    Servis First x0459            501.50                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/14/21    Servis First x0459            163.90                        SG&A and Others                                 Federal Express
          MTPC, LLC               10/14/21    Servis First x0459              22.30                       SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/15/21    Servis First x0459          2,189.67                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/15/21    Servis First x0459            435.51                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/18/21    Servis First x0459         36,658.80    Related Service Provider Payments - PHP Management Fee         Provision Health Partners
          MTPC, LLC               10/18/21    Servis First x0459            699.24                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/18/21    Servis First x0459            265.15                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/19/21    Servis First x0459         76,708.49                              Payroll                                          ADP
          MTPC, LLC               10/19/21    Servis First x0459         48,345.00                        SG&A and Others                                Gray Media Group
          MTPC, LLC               10/19/21    Servis First x0459         28,109.62                              Payroll                                          ADP
          MTPC, LLC               10/19/21    Servis First x0459         23,948.75                        SG&A and Others                          The E.W. Scripps Company
          MTPC, LLC               10/19/21    Servis First x0459         16,600.00          Related Service Provider Payments - PVH/PVS                          DDA
          MTPC, LLC               10/19/21    Servis First x0459         13,900.00          Related Service Provider Payments - PVH/PVS                          DDA
          MTPC, LLC               10/19/21    Servis First x0459         13,208.54    Related Service Provider Payments - PHP Management Fee         Provision Health Partners
          MTPC, LLC               10/19/21    Servis First x0459          8,797.50                        SG&A and Others                             Meredith Funding Corp
          MTPC, LLC               10/19/21    Servis First x0459          6,035.00                        SG&A and Others                              Nextstar Broadcasting
          MTPC, LLC               10/20/21    Servis First x0459          8,790.70                        SG&A and Others                                      CIGNA
          MTPC, LLC               10/21/21    Servis First x0459        173,177.05                        SG&A and Others                               Payables MTPC LLC
          MTPC, LLC               10/21/21    Servis First x0459          1,398.40                        SG&A and Others                               Payables MTPC LLC
          MTPC, LLC               10/21/21    Servis First x0459          1,135.00                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/21/21    Servis First x0459            165.00                        SG&A and Others                                    DEBPitney
          MTPC, LLC               10/22/21    Servis First x0459         12,515.93                              Payroll                                     PerisPrincipal
          MTPC, LLC               10/25/21    Servis First x0459            635.16                              Payroll                                      Wex Health
          MTPC, LLC               10/25/21    Servis First x0459            269.22                              Payroll                                      Wex Health
          MTPC, LLC               10/26/21    Servis First x0459            340.00                        SG&A and Others                                Envoy Corporation
          MTPC, LLC               10/26/21    Servis First x0459            195.00                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/26/21    Servis First x0459            174.24                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/27/21    Servis First x0459         11,000.00    Related Service Provider Payments - PHP Management Fee         Provision Health Partners
          MTPC, LLC               10/28/21    Servis First x0459            485.02                        SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/28/21    Servis First x0459            126.05                        SG&A and Others                                 Federal Express
          MTPC, LLC               10/29/21    Servis First x0459            159.60                        SG&A and Others                      Account Analysis Charge - ServisFirst
          MTPC, LLC               10/29/21    Servis First x0459              60.34                       SG&A and Others                                 Cleared Checks
          MTPC, LLC               10/29/21    Servis First x0459               5.00                       SG&A and Others                                 Service Charge
       PCPT Hamlin, LLC           10/05/21    Servis First x9266            258.00                        SG&A and Others                                  Cleared Check
       PCPT Hamlin, LLC           10/08/21    Servis First x9266         11,086.05                         Facility Expense                                 Duke Energy
       PCPT Hamlin, LLC           10/08/21    Servis First x9266            126.33                         Facility Expense                                 Duke Energy
       PCPT Hamlin, LLC           10/08/21    Servis First x9266             111.29                        Facility Expense                                 Duke Energy
       PCPT Hamlin, LLC           10/12/21    Servis First x9266          2,642.93                        SG&A and Others                                  Lakeapopalake
       PCPT Hamlin, LLC           10/12/21    Servis First x9266            309.20                        SG&A and Others                             Orange County FLPPD
       PCPT Hamlin, LLC           10/15/21    Servis First x9266              11.81                       SG&A and Others                                  Cleared Check
       PCPT Hamlin, LLC           10/21/21    Servis First x9266          6,724.81                        SG&A and Others                                 Hamlin Payables
       PCPT Hamlin, LLC           10/25/21    Servis First x9266        115,842.00                        SG&A and Others                        Willis Towers Watson Southeast
       PCPT Hamlin, LLC           10/29/21    Servis First x9266               5.60                       SG&A and Others                      Account Analysis Charge - ServisFirst
 The Proton Therapy Center, LLC   10/01/21    Servis First x1960           100,000    Related Service Provider Payments - PHP Management Fee         Provision Health Partners
 The Proton Therapy Center, LLC   10/01/21    Servis First x1960            481.19                        SG&A and Others                                 Federal Express
 The Proton Therapy Center, LLC   10/04/21    Servis First x1960               612                        SG&A and Others                                 Cleared Checks
 The Proton Therapy Center, LLC   10/05/21    Servis First x1960        120,044.79                              Payroll                                          ADP
 The Proton Therapy Center, LLC   10/05/21    Servis First x1960         40,793.42                              Payroll                                          ADP
 The Proton Therapy Center, LLC   10/05/21    Servis First x1960         23,650.00                            Physicians                                 Platinum Oncology
 The Proton Therapy Center, LLC   10/05/21    Servis First x1960         19,850.00          Related Service Provider Payments - PVH/PVS                          DDA
 The Proton Therapy Center, LLC   10/05/21    Servis First x1960         13,250.00          Related Service Provider Payments - PVH/PVS                          DDA
 The Proton Therapy Center, LLC   10/05/21    Servis First x1960          2,104.76                        SG&A and Others                            Vantiv_INTG_PYMTCCD
 The Proton Therapy Center, LLC   10/05/21    Servis First x1960            133.33                        SG&A and Others                            Vantiv_INTG_PYMTCCD
 The Proton Therapy Center, LLC   10/05/21    Servis First x1960               7.95                       SG&A and Others                                American Express
 The Proton Therapy Center, LLC   10/06/21    Servis First x1960             1,205                        SG&A and Others                                 Cleared Checks
 The Proton Therapy Center, LLC   10/07/21    Fifth Third x6970         750,000.00                        SG&A and Others                                  Cleared Check
 The Proton Therapy Center, LLC   10/07/21    Servis First x1960            886.59                         Facility Expense                        Internet Waste Management
 The Proton Therapy Center, LLC   10/07/21    Servis First x1960               600                        SG&A and Others                                 Cleared Checks
 The Proton Therapy Center, LLC   10/07/21    Servis First x1960                31                        SG&A and Others                                 Cleared Checks
 The Proton Therapy Center, LLC   10/08/21    Servis First x1960         83,341.88                        SG&A and Others                               Payables PCPT LLC
 The Proton Therapy Center, LLC   10/08/21    Servis First x1960         17,584.54                              Payroll                               PLIC-PerisPrincipal Life
 The Proton Therapy Center, LLC   10/08/21    Servis First x1960          4,767.15                        SG&A and Others                               Payables PCPT LLC
 The Proton Therapy Center, LLC   10/08/21    Servis First x1960          2,480.70                        SG&A and Others                                AutoPay Servisfirst
 The Proton Therapy Center, LLC   10/08/21    Servis First x1960          1,924.95                        SG&A and Others                               Beekley Corporation
 The Proton Therapy Center, LLC   10/08/21    Servis First x1960            566.76                        SG&A and Others                                 Federal Express
 The Proton Therapy Center, LLC   10/08/21    Servis First x1960            389.23                         Facility Expense                                   ATT Web




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 The Proton Therapy Center, LLC     10/12/21         Servis First x1960         84,393.62                         Facility Expense                          Knoxville Utilities Board
 The Proton Therapy Center, LLC     10/12/21         Servis First x1960            480.75                              Payroll                                     Wex Health
 The Proton Therapy Center, LLC     10/12/21         Servis First x1960            332.53                              Payroll                                     Wex Health
 The Proton Therapy Center, LLC     10/12/21         Servis First x1960               0.64                       SG&A and Others                               American Express
 The Proton Therapy Center, LLC     10/13/21         Servis First x1960             2,112                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/13/21         Servis First x1960             1,810                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/13/21         Servis First x1960             1,419                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/13/21         Fifth Third x6970                342                        SG&A and Others                                Service Charge
 The Proton Therapy Center, LLC     10/14/21         Servis First x1960               178                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/15/21         Servis First x1960           11,110                         SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/15/21         Servis First x1960               723                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/15/21         Servis First x1960            495.49                        SG&A and Others                                Federal Express
 The Proton Therapy Center, LLC     10/15/21         Servis First x1960             35.00                        SG&A and Others                                    Donations
 The Proton Therapy Center, LLC     10/18/21         Servis First x1960         63,310.52    Related Service Provider Payments - PHP Management Fee        Provision Health Partners
 The Proton Therapy Center, LLC     10/18/21         Servis First x1960         57,347.63                            Physicians                                Platinum Oncology
 The Proton Therapy Center, LLC     10/18/21         Servis First x1960            500.00                        SG&A and Others                                   DEBPitney
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960        127,662.30                              Payroll                                         ADP
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960           49,510                         SG&A and Others                               Gray Media Group
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960           46,198                               Payroll                                         ADP
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960           23,427     Related Service Provider Payments - PHP Management Fee        Provision Health Partners
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960           16,600           Related Service Provider Payments - PVH/PVS                         DDA
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960           14,025                         SG&A and Others                                      Tegna
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960           13,900           Related Service Provider Payments - PVH/PVS                         DDA
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960             4,893                        SG&A and Others                                     Effectv
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960             4,059                        SG&A and Others                             Nextstar Broadcasting
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960             3,315                        SG&A and Others                             Nextstar Broadcasting
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960             3,252                        SG&A and Others                           Midwest Communications
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960             1,411                        SG&A and Others                                 Summit Media
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960               291                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/19/21         Servis First x1960               215                        SG&A and Others                                    APG East
 The Proton Therapy Center, LLC     10/20/21         Servis First x1960           16,029                         SG&A and Others                                     CIGNA
 The Proton Therapy Center, LLC     10/21/21         Fifth Third x6970         500,000.00                        SG&A and Others                                 Cleared Check
 The Proton Therapy Center, LLC     10/21/21         Servis First x1960          440,091                         SG&A and Others                              Payables PCPT LLC
 The Proton Therapy Center, LLC     10/21/21         Servis First x1960           12,892                         SG&A and Others                              Payables PCPT LLC
 The Proton Therapy Center, LLC     10/21/21         Servis First x1960             7,220                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/21/21         Servis First x1960             3,845                        SG&A and Others                          PMTSinclair Broadca CCD
 The Proton Therapy Center, LLC     10/21/21         Servis First x1960               928                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/21/21         Servis First x1960                10                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/22/21         Servis First x1960           17,681                               Payroll                              PLIC-PerisPrincipal Life
 The Proton Therapy Center, LLC     10/22/21         Servis First x1960               688                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/22/21         Servis First x1960               578                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/22/21         Servis First x1960               431                        SG&A and Others                                Federal Express
 The Proton Therapy Center, LLC     10/25/21         Servis First x1960             1,152                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/25/21         Servis First x1960               500                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/25/21         Servis First x1960               500                              Payroll                                     Wex Health
 The Proton Therapy Center, LLC     10/25/21         Servis First x1960               353                              Payroll                                     Wex Health
 The Proton Therapy Center, LLC     10/25/21         Servis First x1960                62                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/26/21         Servis First x1960             2,415                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/26/21         Servis First x1960               632                        SG&A and Others                               Envoy Corporation
 The Proton Therapy Center, LLC     10/26/21         Servis First x1960               230                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/27/21         Servis First x1960           11,000     Related Service Provider Payments - PHP Management Fee        Provision Health Partners
 The Proton Therapy Center, LLC     10/28/21         Servis First x1960          324,172                      Equipment Maintenance                           IBA Proton Therapy
 The Proton Therapy Center, LLC     10/28/21         Servis First x1960               120                        SG&A and Others                                Cleared Checks
 The Proton Therapy Center, LLC     10/29/21         Servis First x1960           65,111           Related Service Provider Payments - PVH/PVS                         DDA
 The Proton Therapy Center, LLC     10/29/21         Servis First x1960               536                        SG&A and Others                                Federal Express
 The Proton Therapy Center, LLC     10/29/21         Servis First x1960                20                        SG&A and Others                      Account Analysis Charge - ServisFirst


         Payor Summary            As of 10.31.21
           MTPC, LLC                    1,410,175
The Proton Therapy Center, LLC          3,125,248
        PCPT Hamlin, LLC                  137,118
              Total                     4,672,541




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